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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-CV-24100-COOKE/GOODMAN


      DIGNA VINAS,

                     Plaintiff,

      v.

      THE INDEPENDENT ORDER
      OF FORESTERS,

                  Defendant.
      ___________________________________/

           THE INDEPENDENT ORDER OF FORESTERS’ REPLY IN SUPPORT ITS
           MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

             The arguments raised in Plaintiff’s Response in Opposition to Defendant’s Motion to

      Dismiss Plaintiff’s Second Amended Complaint (Doc. 102; “Response”) do not save Counts I

      and III of the Second Amended Complaint from dismissal and this Court should not allow

      Plaintiff to proceed with these meritless claims. 1 In order to save her claims from dismissal,

      Plaintiff asks this Court to disregard Foresters’ payment of the Death Benefit, plus interest,

      and agreement to pay reasonable attorney’s fees and recoverable costs, which fully

      compensated her for any alleged injury. Despite this reality, and in contravention of Florida

      law, Plaintiff asks this Court to allow her to do an end run around Fla. Stat. § 624.155, to

      assert a phantom claim for fraudulent inducement in connection with the sale of the Certificate

      even though Foresters honored the Certificate and paid Plaintiff’s claim.


             1
              In her Opposition, Plaintiff conceded that Count II of the Second Amended
      Complaint is moot and should be dismissed. See Response at 7.
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             The Response, moreover, is riddled with inapplicable case-law, and fails to show that

      Plaintiff’s allegations are sufficient under Rule 9’s heightened pleading requirements. Plaintiff

      inappropriately relies on the Court’s Endorsed Orders (Docs. 90 and 100) granting leave to file

      the amended pleading and declining a stay of discovery as grounds for denying the Motion to

      Dismiss (Doc. 95; the “Motion”). However, these Orders do not address the parties’ arguments

      on the merits and are not relevant to the issues currently before the Court. For the reasons

      stated in the Motion and this Reply, the Second Amended Complaint should be dismissed with

      prejudice.

         A. Count I for breach of contract should be dismissed under Article III and Rule
            12(b)(6) because Foresters fulfilled all contractual obligations and Plaintiff has
            not sustained a legally cognizable injury.

             Plaintiff fails to meaningfully refute that her breach of contract claim should be

      dismissed under Rule 12(b)(6), and under Article III as moot, insofar as Foresters paid Plaintiff

      the full Death Benefit, plus interest, and agreed to pay her reasonable attorney’s fees and costs,

      and because Plaintiff has not sustained a legally cognizable injury, as Foresters already made

      her whole. Plaintiff’s claim that she is entitled to consequential damages is nothing more than

      an attempt to recover a windfall. Contrary to Plaintiff’s unsupported assertion, Foresters’

      payment of interest compensated her for the alleged delay in payment. See Md. Cas. Co. v.

      Fla. Produce Distribs., Inc., 498 So. 2d 1383, 1384 (Fla. 5th DCA 1986) (“It is precisely for

      this delay in the payment of money that additional damages are allowed in the form of

      prejudgment interest.”); see also Shideler v. Conn. Gen. Life Ins. Co., 563 So. 2d 1082, 1084

      (Fla. 5th DCA 1990) (Prejudgment interest is a legally recognized “means to transfer to the

      prevailing party the gain the losing party realized, or could have realized, from the use of the



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      money during the relevant time period.”); Baxter v. Royal Indem. Co., 285 So. 2d 652, 657

      (Fla. 1st DCA 1973) 2 (“The penalty imposed by law on the insurer for its failure to settle [or

      resolve] the claim of its insured within a reasonable time is the payment of interest at the legal

      rate.”). “To charge the insurer prejudgment interest on the delayed payment of the money due

      and also charge it for the loss of use of the damaged property [ie, consequential damages]

      would be to make the insurer pay twice for essentially the same thing.” Fla. Produce Distribs.,

      Inc., 498 So. 2d at 1384-85. Notably, Foresters paid interest at the rate of 8%, which is more

      than the 3.92% interest rate required by Fla. Stat. § 627.4615. See Fla. Stat. § 627.4615 (stating

      that the interest rate must be at least equal to the Moody’s Corporate Bond Yield Average-

      Monthly Average Corporate as of the day the claim was received, which was 3.92% on January

      12, 2017, when Plaintiff filed her claim).

             Further, in the Response, Plaintiff does not refute that the Second Amended Complaint

      lacks any allegations that Foresters and Mr. Vinas contemplated paying the consequential

      damages Plaintiff seeks, including all “monthly expenses,” all “unpaid debts,” and costs

      associated with a pending collection action and the speculative judgment which has not been

      entered. To get around this pleading deficiency, Plaintiff distorts Florida law and claims that

      consequential damages are recoverable if they were foreseeable, regardless of whether they

      were contemplated. This is patently wrong. In Macola v. Gov’t Empls. Ins. Co., 953 So. 2d

      451 (Fla. 2006), Florida’s Supreme Court recognized that in breach of contract actions against

      an insurer, “damages [are] limited to those contemplated by the parties in the insurance policy.”



             2
              Although Baxter was decided before Florida enacted Fla. Stat. § 624.155, its statement
      regarding the purpose of prejudgment interest remains viable.


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      Id. at 455; see also Talat Enters. v. Aetna Cas. & Sur. Co., 753 So. 2d 1278, 1283 (Fla. 2000)

      (“In the context of a first-party insurance claim, the contractual amount due the insured is the

      amount owed pursuant to the express terms and conditions of the policy.” Not only is Plaintiff

      wrong, but in QBE Ins. Corp. v. Chalfonte Condo. Apt. Ass’n, 94 So. 3d 541 (Fla. 2012),

      Florida’s Supreme Court cautioned against the dangers of holding an insurance company liable

      for all foreseeable damages, and “specifically declined to adopt the doctrine of reasonable

      expectations in the context of insurance contracts, concluding that construing insurance

      policies under this doctrine can only lead to uncertainty and unnecessary litigation.” Id. at 549.

             Further, the cases cited by Plaintiff do not support her proposed interpretation of

      Florida law. In Life Investors Ins. Co. of Am. v. Johnson, 422 So. 2d 32 (Fla. 4th DCA 1982),

      the court recognized that damages “which were in contemplation of the parties at the inception

      of the contract” may be recoverable. Id. at 34. The same is true of Manor House, LLC v.

      Citizens Prop. Ins. Corp., 277 So. 3d 658 (Fla. 5th DCA 2019), where the court held that the

      plaintiff should have been given “the opportunity to prove whether the parties contemplated”

      that it sustained the consequential damages at issue. Id. at 661-62. 3 Plaintiff’s other case,

      Bizrocket.com, Inc. v. Interland, Inc., No. 04-60706-CIV-2005 WL 8168264, (S.D. Fla. Nov.

      15, 2005), also recognized that “[u]nder Florida law, ‘damages recoverable by an party injured

      by a breach of contract are those that naturally flow from the breach and can reasonably be

      said to have been contemplated by the parties at the time the contract was entered into.”



             3
               Florida’s Supreme Court granted review of Manor House, LLC v. Citizens Prop. Ins.
      Corp., 277 So. 3d 658 (Fla. 5th DCA 2019) and is considering whether Florida law allows an
      insured to recover consequential damages in an action which was not brought under Fla. Stat.
      § 624.155.


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      Id. at *4 (emphasis added). Although the Court held that it was “not necessary to prove that

      the parties contemplated the precise injuries that occurred so long as the actual consequences

      could have reasonably been expected to flow from the breach,” it denied the plaintiff’s claim

      for extra-contractual damages because “the record [wa]s devoid of any evidence suggesting

      that a reasonable person could have contemplated” the damages sought. Id. at **4-5.

             Additionally, Plaintiff fails to cite any authority supporting that her claim for

      consequential damages meets Rule 9(g)’s specificity requirements. Although Rule 9(g) does

      not require Plaintiff to plead the specific dollar amount she seeks, she must notify Foresters of

      the nature of the special damages claimed. Landsman v. City of Vero Beach, No. 13-14375-

      CIV-GRAHAM/LYNCH, 2015 WL 10960951, at *2 (S.D. Fla. Oct. 21, 2015). Plaintiff’s

      general request for “all unpaid bills” tells Foresters nothing about the nature of these unpaid

      bills, and does not enable Foresters to defend against her allegation that the allegedly untimely

      payment caused her to incur these mysterious bills.

         B. Count III for fraudulent inducement should be dismissed because Plaintiff lacks
            standing and fails to allege that Foresters made any misrepresentations sufficient
            to underpin a fraud in the inducement claim.

             As a threshold matter, Plaintiff fails to refute that she lacks standing to pursue a claim

      that Foresters fraudulently induced Mr. Vinas to purchase the Certificate. To get around this

      dispositive issue, Plaintiff once again distorts Florida law. Contrary to Plaintiff’s assertion, in

      Branch Banking & Trust Co. v. Appraisalfirst, Inc., No. 10-21141-CIV-GOLD/MCALILEY,

      2010 WL 11596299 (S.D. Fla. July 7, 2017), the Court did not consider whether the plaintiff

      was a third party beneficiary to evaluate whether she had standing to pursue a fraudulent

      misrepresentation claim. First, the Court determined that as a non-third party beneficiary, the



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      plaintiff lacked standing to assert a breach of contract claim. Id. at **3-4. Instead of ending

      its analysis, the Court went on to analyze, in a completely separate section of the opinion, that

      the plaintiff also lacked standing to assert a fraudulent misrepresentation claim because the

      alleged misrepresentation was not made to the plaintiff, and the plaintiff was not been assigned

      rights to pursue this claim from the party who had standing. Id. at *4. Notably, Plaintiff neither

      alleges in the Second Amended Complaint, nor argues in the Response, that Foresters made

      any representations to her, or that Mr. Vinas assigned his rights to her. Plaintiff relies solely

      on her status as third-party beneficiary to establish standing, and cites a litany of inapplicable

      cases showing that this is sufficient to establish standing for a breach of contract claim. Branch

      Banking, however, shows that third-party beneficiary status is irrelevant to the determination

      of standing to assert a fraudulent misrepresentation claim, and Plaintiff’s argument fails as a

      matter of law.

             Next, Plaintiff does not dispute that to state a claim for fraudulent inducement, a

      plaintiff must allege “facts separate and distinct from the breach of contract.” HTP, Ltd. v.

      Lineas Aereas Costarricenses, S.A., 685 So.2d 1238, 1239 (Fla. 1996). Plaintiff’s cases

      recognize that “[a]s a general rule, fraud cannot be predicated upon a mere promise not

      performed.” Noack v. Blue Cross & Blue Shield of Fla., Inc., 742 So. 2d 433, 434 (Fla. 1st

      DCA 1999); Mejia v. Jurich, 781 So. 2d 1175, 1177 (Fla. 3d DCA 2001) (“An action for fraud

      generally may not be predicated on . . . promises of future action, but rather must be based on

      a statement concerning a past or existing fact.”

             Plaintiff relies on a limited exception to this rule which allows a plaintiff to pursue a

      fraud in the inducement claim “where it can be shown that the promisor had a specific intent



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      not to perform the promise at the time the promise was made, and the other elements of fraud

      are established.” Noack, 742 So. 2d (emphasis added); Mejia v. Jurich, 781 So. 2d at 1177.

      However, this does not change the rule that the misrepresentation itself must be extraneous to

      the contract, and separate from the breach. Florida’s Supreme Court recognizes that fraudulent

      inducement “normally occurs prior to the contract and the standard of truthful representation

      placed upon the defendant is not derived from the contract.” HTP, Ltd., 685 So.2d at 1239.

      Here, Plaintiff simply points to the Contestability Clause, and states that Foresters’ alleged

      breach of that clause means that it must not have intended to perform. That is, Plaintiff alleges

      nothing more than “fraud in the performance,” not “fraud in the inducement,” which “is not

      actionable alongside a breach of contract claim because the misrepresentations are interwoven

      and distinct from the heart of the contractual agreement.” Cutler v. Voya Financial, Inc., No.

      18-20723-Civ-WILLIAMS/TORRES, 2018 WL 4410202, at *8 (S.D. Fla. Aug. 23, 2018)

      (internal quotation and citation omitted) (dismissing a fraudulent inducement claim). 4

             Plaintiff also fails to show that her allegations satisfy the specificity requirements of

      Rule 9(b). Plaintiff does not identify any allegedly fraudulent statements, representations, or

      omissions, much less the time, place, person responsible, and content of those statements, other

      than the terms of the Certificate, which is insufficient as a matter of law. See Ziemba v.

      Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001) (explaining that to assert a claim for

      fraud, the plaintiff must allege what statements were made, the time and place the person



      4
        A reading of Plaintiff’s allegations makes clear that he is alleging nothing more than that a
      “fraudulent” breach of contract, which is encompassed within Count I. See Second Am.
      Compl. ¶¶32, 36-39, 40, 45.



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      responsible, and the content). In an attempt to re-write her pleading, Plaintiff, in the Response,

      points to the deposition testimony of Lisa Buckland, a Foresters’ representative who was not

      involved with the sale of the Certificate, to argue that Foresters’ did not perform a proper

      contestability investigation. Not only is this improper at the motion to dismiss stage, as the

      Court is limited to the facts alleged in the pleading, but such testimony is entirely irrelevant to

      the issues before the Court.          Ms. Buckland’s testimony regarding the contestability

      investigation—which took place years after Mr. Vinas purchased the Certificate—has nothing

      to do with whether Foresters made a misrepresentation in order to induce Mr. Vinas to purchase

      the Certificate in the first place.

              Notably, Plaintiff’s reliance on Noack is misplaced, as it does not involve a claim for

      fraudulent inducement to enter into a contract. Instead, in Noack the plaintiff alleged that a

      specifically named individual fraudulently induced the plaintiff to take specific actions,

      including obtaining a written release from a third-party, to induce him to forego filing a lawsuit.

      Id. at 435. Mejia is equally inapplicable. There, the plaintiffs alleged that they were

      fraudulently induced into signing agreements for the purchase of homes by three material

      misrepresentations made by the defendants “during the course of several meetings prior to

      their execution of the purchase agreements and continuing through the closing.” Id. at 1176

      (emphasis added). The alleged misrepresentations consisted of statements that: (1) the listed

      prices would never be reduced; (2) railroad tracks were going to be removed for unrestricted

      access to a clubhouse and to eliminate noise; and (3) the homes would be developed in

      accordance with zoning laws. Id. at 1176-77. Unlike in Mejia, where the plaintiffs relied on

      misrepresentations which were extraneous to the promise of performance, and made during the



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      negotiations leading up to the contract’s execution, Plaintiff does not allege that Foresters made

      any fraudulent representations to Mr. Vinas prior to entering into the contract which are

      extraneous to the terms of the contract.

             In the Response, Plaintiff fails to address the fact that her claim for fraudulent

      inducement is a bad faith claim in disguise, which she is precluded from asserting under Florida

      law because Foresters cured all alleged violations. See Portofino S. Condo. Ass’n of West

      Palm Beach, Inc. v. QBE Ins. Corp., 664 F. Supp. 2d 1265 (S.D. Fla. 2019) (“allegations that

      QBE failed to ‘reasonably’ and ‘promptly’ investigate and pay its claim are analogous to the

      term ‘wrongful’ which would imply a statutory bad faith claim under § 624.155.”). Plaintiff

      callously dismisses Foresters’ explanation of this case’s history to distract the Court from the

      fact that she is precluded from pursuing a bad faith claim.

         C. Plaintiff is not entitled to attorney’s fees under section 627.428 for Count III.

             Additionally, Plaintiff fails to refute that she is not entitled to attorney’s fees under Fla.

      Stat. § 627.428. Florida law is clear that attorney’s fees “are not recoverable in the absence of

      a statute or contractual agreement authorizing their recovery.” Price v. Taylor, 890 So. 2d 246,

      250 (Fla. 2004). Florida’s Supreme Court has instructed that section 627.428 authorizes

      attorney’s fees “only in a discrete set of circumstances.” Cont’l Cas. Co. v. Ryan Inc. E., 974

      So. 2d 368, 374 (Fla. 2008). Plaintiff fails to satisfy her burden of establishing her entitlement

      to an award of fees for fraudulent inducement, as she fails to cite a single case supporting her

      position. See Plapinger v. E. States Prop. Realty Corp., 716 So. 2d 315, 318 (Fla. 5th DCA

      1998) (recognizing that the party seeking to recover fees has the burden of demonstrating its

      general right to recovery). Plaintiff’s attempt to reverse the burden of proof by claiming that



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      Foresters failed to show she is not entitled to such relief, once again, distorts Florida law.

              Plaintiff cannot get around the fact that her fraudulent inducement claim does not arise

      “under a policy or contract executed by the insurer,” as Fla. Stat. § 627.428 requires. Plaintiff

      argues that since her claim “features the issuance of a policy,” she is entitled to attorney’s fees.

      However, Florida courts have limited the applicable of section 627.428 to breach of contract

      actions. Although Florida courts have not addressed section 627.428 in the context of a

      fraudulent inducement claim against an insurer, the most persuasive authority we have on this

      issue demonstrates that fees are not recoverable. Hilson v. Geico Gen. Ins. Co., No. 8:11-cv-

      13-MSS-MAP, 2016 WL 3211474, at *6 (M.D. Fla. Mar. 31, 2016). After performing an

      extensive analysis of the history of section 627.428, the court concluded that “[h]aving chosen

      to bring a tort claim, Plaintiff[ ] cannot now bootstrap that claim onto [her breach of contract

      claim] in hopes of bringing [her tort] claim within the ambit of section 627.428.” Hilson v.

      Geico Gen. Ins. Co., No. 8:11-cv-13-MSS-MAP, 2016 WL 3211474, at *4 (M.D. Fla. Mar.

      31, 2016). Despite Plaintiff’s creative attempts at re-casting her tort claim as one that

      “features” a contract, Plaintiff cannot avoid the fact that she is not seeking benefits under an

      insurance policy, and her request for fees under section 627.428 should be stricken.

          D. Conclusion

              For the reasons set forth in the Motion and herein, the Second Amended Complaint

      should be dismissed.




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                                     CERTIFICATE OF SERVICE

              I certify that on September 25, 2020, I electronically filed the foregoing with the Clerk
      of the Court by using the CM/ECF system which will send a notice of electronic filing to the
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